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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF INDIANA
                                   SOUTH BEND DIVISION

  JOHN R. MALONE, JR., AS TRUSTEE                        )
  OF THE GORDON L. BEELER                                )
  IRREVOCABLE TRUST DATED                                )
  MAY 26, 1999,                                          )
                                                         )
                  Plaintiff,                             )
                                                         )
         v.                                              )       3:05-CV-660 WCL
                                                         )
  RELIASTAR LIFE INSURANCE                               )
  COMPANY and AXA EQUITABLE LIFE                         )
  INSURANCE COMPANY,                                     )
                                                         )
                  Defendants.                            )

                          MEMORANDUM OF OPINION AND ORDER

         This matter is before the court on the “Motion for Reconsideration or Certification” (Doc.

  No. 147) filed by Plaintiff John R. Malone, Jr., as Trustee of the Gordon L. Beeler Irrevocable Trust

  Dated May 26, 1999 (“plaintiff” or “Beeler Trust”) on March 7, 2008. Therein, plaintiff requests

  the court’s reconsideration of its February 26, 2008 order (Doc. No. 146) denying the Beeler Trust’s

  “Renewed Motion for Judgment as a Matter of Law, or in the Alternative, For New Trial” (Doc. No.

  102). In the alternative, the plaintiff requests that the court certify to the Supreme Court of Indiana

  the question of whether the court’s final jury instruction number 22 correctly stated Indiana law.

  Defendants AXA Equitable Life Insurance Company and Reliastar Life Insurance Company filed

  no responses.

         The extensive procedural history and underlying facts of this case, including a six day jury

  trial, were previously set forth in this court’s February 26, 2008 order, incorporated herein. No

  additional facts are considered in ruling on the instant motion. For the reasons that follow, the
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  Beeler Trust’s motion will be DENIED.

                                               DISCUSSION

  I.      Reconsideration of the Court’s February 26, 2008 Order

          Reconsideration is appropriate when the court has “patently misunderstood a party, or has

  made a decision outside the adversarial issues presented to the Court by the parties, or has made an

  error not of reasoning but of apprehension.” Bank of Waunakee v. Rochester Cheese Sales, Inc., 906

  F.2d 1185, 1191 (7th Cir. 1990). “A further basis for a motion to reconsider would be a controlling

  or significant change in the law or facts since the submission of the issue to the Court.” Id.

  Reconsideration is discretionary and such motions should not be used to reargue previously

  presented points, see Neal v. Newspaper Holdings, Inc., 349 F.3d 363, 368 (7th Cir. 2003), but serve

  only a limited function. Publishers Resource, Inc. v. Walker-Davis Publications, Inc., 762 F.2d 557,

  561 (7th Cir. 1985).

          The Beeler Trust’s motion is not supported by any such circumstance making reconsideration

  appropriate. The instant case does not involve new factual issues or a change in the law, nor was the

  Beeler Trust a misunderstood litigant; it merely was an unsatisfied litigant who received an

  unfavorable, yet reasonable, jury verdict. The Beeler Trust has failed to identify any proper basis

  for altering or amending the court’s ruling denying judgment as a matter of law or a new trial,

  rearguing instead the merits of its case.1 Specifically, the Beeler Trust alleges that the court’s final




          1
           The Beeler Trust admits repeating arguments previously raised and considered: “As the Beeler
  Trust discussed at length in its Motion [Doc. No. 102] and associated reply [Doc. No. 112], there is no
  support in the common law, . . .for the language added to Jury Instruction No. 22 . . . .” See Beeler Trust
  Memo. at Doc. No. 147, p. 2.

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  jury instruction number 22 misstated Indiana’s presumption of death standard,2 and thus, improperly

  raised the plaintiff’s burden and resulted in an erroneous verdict form.3 These arguments were

  rejected in the court’s February 26, 2008 order,4 and the court will not expend its limited judicial

  resources reiterating the extensive factual findings and reasoning in its previous order to again reject

  the same. See Heltzel v. Dutchmen Mfg., Inc., 2008 WL 623192, *2 (N.D.Ind. March 4, 2008) (“this

  Court’s opinions are not intended as mere first drafts, subject to revision and reconsideration at a

  litigant’s pleasure”) (citing Quaker Alloy Casting Co. v. Gulfco Indus., Inc., 123 F.R.D. 282, 288

  (N.D.Ill.1988)).

          The only new issue raised by the Beeler Trust’s present motion, not previously addressed by

  the court, is the effect, if any, of Green v. Shalala, 51 F.3d 96 (7th Cir. 1995) and its application of

  20 C.F.R. § 404.721, on the present case. The Beeler Trust believes the court should reconsider its

  February 26, 2008 order in light of Shalala, a decision published over a decade ago. Yet, an analysis

  of 20 C.F.R. § 404.721 and its legislative history reveals the fundamental flaw in the Beeler Trust’s

  position.


          2
           The Beeler Trust argued then, as it does now, that jury instruction number 22 erroneously raised
  the standard for invoking the presumption of death by requiring that Mr. Beeler be “inexplicably absent,”
  or by requiring that his absence be “unexplained by circumstances other than those suggesting death.”
          3
            As before, the Beeler Trust argues that it was error to instruct the jury that if the Beeler Trust
  failed to prove that the presumption of death arose (question 1 of the verdict form), then there was no
  need to consider whether the Beeler Trust was able to prove the ultimate fact of Mr. Beeler’s death
  (question 3 of the verdict form).
          4
            In relevant part, the court’s order dated February 26, 2008 (Doc. No. 146), thoroughly discussed
  that (1) the court’s instructing the jury that Mr. Beeler’s absence must, by a preponderance of the
  evidence, be unexplained by circumstances other than those suggesting death, did not raise the Beeler
  Trust’s burden of proof, but properly required the Beeler Trust to show that it was more likely than not
  that Mr. Beeler’s absence was not explained by something other than death; and (2) the court’s special
  verdict form was properly formulated in a manner that allowed the jury to consider the only issue tried,
  whether the presumption of death applied.

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          A.       20 C.F.R. § 404.721

          The Social Security Act provides for payment of insurance benefits to the child of an

  individual who dies insured, and if the individual’s death cannot be established, then the individual

  will be presumed dead upon the submission of proper evidence by the claimant. See 42 U.S.C. § 402

  and 20 C.F.R. § 404.721. The evidence necessary to raise the presumption of death under 20 C.F.R.

  § 404.7215 has changed over time.

          Title II of the Social Security Act once provided that a presumption of death arose with the

  submission of:

                   (a) A certified copy or, or extract from, an official report or finding
                   by an agency or department of the United States that a missing person
                   is “presumed to be” dead as set out in Federal law (5 U.S.C. § 5565).
                   ...
                   (b) Signed statements by those in a position to know and other
                   records which show that the person has been absent from his or her
                   residence for no apparent reason, and has not been heard from, for
                   at least 7 years . . . .

  See Social Security Administration, HEW, 43 Fed. Reg. 24,795 (June 7, 1978) (to be codified at 20

  C.F.R. pt. 404).

          In 1984, the Social Security Administration proposed a change to the regulation to clarify that

  a missing insured person is not presumed to be dead “if there are known circumstances that could

  reasonably explain the absence, even without direct evidence that such circumstances actually were

  the reasons for absence.” Federal Old-Age, Survivors, and Disability Insurance; Evidence Provision

  for Inferring a Person is Dead, 49 Fed. Reg. 7,405-7,406 (February 29, 1984). The change was



          5
          Until 1979, the provision was codified as 20 C.F.R. § 404.705 and contained slightly different
  wording, requiring an “unexplained absence” rather than an absence “for no apparent reason”; the
  amendment did not effect any change in the law.

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  needed because requiring the insured to be absent “for no apparent reason” yielded two very different

  interpretations: (1) the Secretary’s position that the presumption only applied if all conditions

  described in the regulations were proven to exist by the claimant, i.e. an “insured person’s

  disappearance [could not be] attributed to known domestic or financial difficulties or to some other

  rational reason for leaving home” and (2) several federal courts of appeals’ decisions presuming that

  an insured person died solely due to being absent from home for seven years, thus shifting the burden

  to the Secretary to prove that the insured person was alive or had disappeared for a reason other than

  death. Id. Under the proposed amendment, death would be presumed if signed statements (by those

  in a position to know) and other records showed that all three of the following requirements were

  met:

                 (1) The insured person has not had contact of any kind with any
                 relatives, dependents, employers, or friends for at least 7 years.
                 (2) A diligent search was conducted with the air of the appropriate
                 authorities reasonably soon after the insured person’s disappearance,
                 but the search failed to locate or explain the absence of the insured person.
                 (3) Circumstances surrounding the insured person’s disappearance
                 allow no reasonable explanation of that person’s absence other than
                 death.

  See Federal Old-Age, Survivors, and Disability Insurance; Evidence Provision for Inferring a Person

  is Dead, 49 Fed. Reg. at 7,406. Facts existing around the time of the disappearance that may prevent

  the inference from being applied were to be considered, including but not limited to, legal action

  against the insured, domestic or marital discord, a pattern of disregard of family ties, substantial

  financial burdens, the disappearance of personal funds or assets, a past history of desertion, and

  factors such as age and health. Id. After much deliberation, the Social Security Administration

  chose not to adopt the proposed changes.



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          Instead, many years later, the agency proposed changes that would assist in establishing a

  national policy based on the interpretation set forth by the federal courts of appeals in finding that

  a presumption of death arises when a claimant for social security benefits for children proves that

  the insured has been absent for seven years.6 See Federal Old-Age, Survivors and Disability

  Insurance; Changes in Evidence Required to Presume a Person is Dead, 59 Fed. Reg. 37,002 (July

  20, 1994) (to be codified at 20 C.F.R. pt. 404).

          Effective April 17, 1995, the amendments were made to 20 C.F.R. § 404.721(b). These

  amendments removed the language “for no apparent reason.” See Federal Old-Age, Survivors and

  Disability Insurance; Changes in Evidence Required to Presume a Person is Dead, 60 Fed. Reg.

  19164 (April 17, 1995) (to be codified at 20 C.F.R. pt. 404); Green v. Shalala, 51 F.3d 96, 99, n. 4

  (7th Cir. 1995) (noting that the agency’s proposed amendment was pending at the time the decision

  was rendered). The amended provision states in pertinent part that the presumption of death is

  established with: “[s]igned statements by those in a position to know and other records which show

  that the person has been absent from his or her residence and has not been heard from for at least 7

  years.” Federal Old-Age, Survivors and Disability Insurance; Changes in Evidence Required to

  Presume a Person is Dead, 60 Fed. Reg. at 19164 (codified at 20 C.F.R. pt. 404). Therefore, a

  presumption of death arises when the claimant establishes that an individual has been absent and not



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            Shelnutt v. Heckler, 723 F.2d 1131 (3rd Cir. 1983); Aubrey v. Richardson, 462 F.2d 782 (3rd
  Cir. 1972); Autrey v. Harris, 639 F.2d 1233 (5th Cir. 1981) (per curiam); Johnson v. Califano, 607 F.2d
  1178 (6th Cir. 1979); Brewster v. Sullivan, 972 F.2d 898 (8th Cir. 1992); Secretary of Health, Educ. &
  Welfare v. Meza, 368 F.2d 389 (9th Cir. 1966); Edwards v. Califano, 619 F.2d 865 (10th Cir. 1980). The
  Autrey decision was binding as precedent in the Eleventh Circuit as well because it was issued before
  October 1, 1981, the date on which the former Fifth Circuit split into the Fifth and Eleventh Circuits. See
  Bonner v. City of Prichard, 661 F.2d 1206, 1207 (11th Cir. 1981) (en banc); see also, Shalala, 51 F.3d at
  99, n. 2.

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  heard from for seven years. Id. Once the presumption is made, the burden shifts to the Secretary

  to rebut the presumption either by presenting evidence that the missing individual is still alive or by

  providing an explanation to account for the individual’s absence in a manner consistent with

  continued life rather than death. Id. The current version of 20 C.F.R. § 404.721(b) contains the

  same language, as it remains unchanged. See 20 C.F.R. § 404.721. The Beeler Trust contends that

  the Seventh Circuit’s interpretation and application of 20 C.F.R. § 404.721 in Green v. Shalala, 51

  F.3d 96 (7th Cir. 1995), essentially rejecting the “no apparent reason” requirement, is controlling

  upon the instant case.

          B.      Green v. Shalala, 51 F.3d 96 (7th Cir. 1995)

          In Shalala, the plaintiff’s husband, John Charles Green, left to attend to his store on January

  4, 1984, and never returned. Shalala, 51 F.3d at 97. Mr. Green left a letter for his wife apologizing

  for all the problems and sent his parents an envelope with letters for his family and keys to his truck.

  Id. at 97-98. The letters indicated that he would always miss the family and he would not return, as

  “it would be best if [he] left.” Id. It was later discovered that Mr. Green was in legal trouble and

  that his business was in serious financial trouble. Id. at 98. Mr. Green did not attend significant

  family functions after his disappearance, and in July 1991, the county court issued Mr. Green’s death

  certificate. Shalala, 51 F.3d at 98, 101. After the plaintiff filed for child survivor benefits on behalf

  of her son in 1991, the ALJ denied the claim on the ground that Mr. Green’s disappearance was not

  unexplained, as required by 20 C.F.R. § 404.721. Id. at 98. The Appeals Council denied the

  plaintiff’s request for review, and after suit was filed, the district court granted summary judgment

  in favor of the Secretary, rejecting the plaintiff’s arguments that Mr. Green’s absence need not be

  unexplained for the presumption to arise and that the decision was not supported by substantial


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  evidence. Id. at 98-99.

         Upon review, the Seventh Circuit reversed the district court’s ruling, finding instead that the

  ALJ’s denial of child survivor benefits was not supported by substantial evidence where the ALJ

  failed to consider the purpose and adversarial nature of the state court’s determination of death, as

  well as the quantum of evidence needed to obtain a presumptive certificate of death, and failed to

  discuss the payment of proceeds from Mr. Green’s life insurance policy. Shalala, 51 F.3d at 101-02.

  The court, recognizing the fact that 20 C.F.R. § 404.721 had proposed revisions that were pending

  in order to remove the language “for no apparent reason,” held that under 20 C.F.R. § 404.721 a

  rebuttable presumption of death is raised once the claimant establishes a seven-year absence, and if

  the Secretary comes forward with evidence to explain the missing person’s absence the burden of

  production has been satisfied and the presumption is rebutted. Id. at 99-101. Explicitly refusing to

  render an opinion with respect to the outcome, the court remanded the case to permit the ALJ to

  reconsider the evidence of record. Id. at 102.

         Shalala is clearly distinguishable from this case. Shalala involved the interpretation of a

  federal regulation in the social security setting; it did not entail Indiana’s common law presumption

  of death as dictated by state law. Although 20 C.F.R. § 404.721 is admittedly intended to be based

  on general common law principles, the agency explicitly rejected its proposed 1984 amendments,

  which would have allowed the presumption of death to apply when the insured has not

  communicated with those closest to him in at least seven years, the disappearance allowed no

  reasonable explanation of the absence other than death, and a diligent search failed to locate or




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  explain the absence7—the very same evidence required by Indiana for the claimant to raise the

  presumption of death under the common law for life insurance proceeds. See Roberts v. Wabash Life

  Ins. Co., 410 N.E.2d 1377 (Ind.Ct.App. 1980) (“[w]hen a person is inexplicably absent from home

  for a continuous period of seven years, fails to communicate with those persons who would be most

  likely to hear from him, and cannot be found despite diligent inquiry and search, that person is

  presumed to be dead.”). Thus, it cannot be said that the evidentiary requirements needed to raise the

  presumption of death under 20 C.F.R. § 404.721 are consistent with Indiana’s common law

  requirements, because the Social Security Administration rejected those common law principles.

           Moreover, 20 C.F.R. § 404.721 was later amended to negate the requirement that the absence

  needed to be unexplained. This was done in order to establish “a national policy based on the

  interpretation set forth by [federal circuit] courts,”8 not to coincide with Indiana’s common law

  elements required to raise the presumption of death. In Shalala, the Seventh Circuit agreed with the

  approach “chosen by the circuits,” and interpreted 20 C.F.R. § 404.721's presumption of death to

  apply once the claimant established a seven-year absence. Shalala, 51 F.3d at 100. The approach

  chosen by the circuits is not the approach chosen by Indiana. Shalala’s holding, consistent with the

  regulation as amended, does not establish any change to Indiana’s common law presumption of

  death.

           Indiana’s common law presumption of death was clearly and explicitly set forth by the Court


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           See Federal Old-Age, Survivors, and Disability Insurance; Evidence Provision for Inferring a
  Person is Dead, 49 Fed. Reg. 7,405-7,406 (February 29, 1984), as withdrawn in Federal Old-Age,
  Survivors and Disability Insurance; Changes in Evidence Required to Presume a Person is Dead, 59 Fed.
  Reg. 37,002 (July 20, 1994).
           8
          See Federal Old-Age, Survivors and Disability Insurance; Changes in Evidence Required to
  Presume a Person is Dead, 59 Fed. Reg. at 37,002.

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 of Appeals of Indiana: “[w]hen a person is inexplicably absent from home for a continuous period

 of seven years, fails to communicate with those persons who would be most likely to hear from him,

 and cannot be found despite diligent inquiry and search, that person is presumed to be dead.”

 Roberts v. Wabash Life Ins. Co., 410 N.E.2d 1377 (Ind.Ct.App. 1980) (citing Equitable Life

 Assurance Society v. James, 127 N.E. 11 (Ind.Ct.App. 1920); Metropolitan Life Insurance Co. v.

 Lyons, 98 N.E. 824 (Ind.Ct.App. 1912)). Unlike 20 C.F.R. § 404.721, no change to Indiana’s

 common law presumption of death has occurred. As such, this court was required to apply Indiana’s

 presumption of death as Indiana’s intermediate court applied it, and as the Supreme Court of Indiana

 would likely hold. See State Farm Mut. Auto. Ins. Co. v. Pate, 275 F.3d 666, 669 (7th Cir. 2001)

 (in fulfilling the mandate of Erie,9 a district court sitting in diversity must apply the law of the state

 as it believes the highest court of the state would apply it if the issue were presently before that

 tribunal, but in the absence of guiding authority from the state’s highest court, great weight must be

 accorded to the holdings of the state’s intermediate appellate courts, unless there are persuasive

 indications that the state’s highest court would reject the decision of the intermediate court).

         In following Indiana’s case precedent, this court properly determined that Mr. Beeler needed

 to be inexplicably absent in order for the Beeler Trust to raise the presumption of death. Further,

 instructing the jury that Mr. Beeler’s absence must, by a preponderance of the evidence, be

 unexplained by circumstances other than those suggesting death, did not raise the Beeler Trust’s

 burden of proof. The circumstances existing around the time of Mr. Beeler’s disappearance were

 to be considered, and in the end, those circumstances prevented the inference of death from being

 applied since Mr. Beeler’s absence was clearly not the result of death, but of intentional desertion.


         9
             Erie Railroad v. Tompkins, 304 U.S. 64 (1938).

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 In addition, the Beeler Trust was not required to negate every possible explanation for Mr. Beeler’s

 absence, but it was required to show that it was more likely than not that Mr. Beeler’s absence was

 not explained by something other than death. See also Davie v. Briggs, 97 U.S. 628, 633-34 (1878)

 (“A person shown not to have been heard of for seven years by those (if any) who, if he had been

 alive, would naturally have heard from him, is presumed to be dead, unless the circumstances of the

 case are such as to account for his not being heard of without assuming his death.”). As thoroughly

 discussed in the court’s February 26, 2008 order (Doc. No. 146), the Beeler Trust failed to meet its

 burden.

        The Beeler Trust also fails to recognize that not only did Shalala involve the interpretation

 of a federal social security administration regulation (with an outcome determinative proposed

 revision pending), Shalala, 51 F.3d at 99, n. 4, but in reaching its decision in Shalala, the Seventh

 Circuit referenced Blew v. Richardson, 484 F.2d 889, 892 (7th Cir. 1973) for the proposition that

 pre-departure evidence may support a finding that the individual’s absence is not unexplained.

 Shalala, 51 F.3d at 100. The Seventh Circuit’s discussion in Blew, addressing the presumption of

 death under the former version of 20 C.F.R. § 404.721 (requiring an absence for “no apparent

 reason”), recognized the importance that an individual’s absence be unexplained, in accordance with

 the common law authorities:

                One may easily posit cases in which a fugitive’s pre-departure
                statements so plainly describe an intent to disappear completely from
                former associates-such as an estranged spouse, muscular creditors, or
                a strict commanding officer-that a continued life under a new identity
                is at least as probable as death even though seven years have elapsed.
                Pushed to its logical conclusion the rule which the district court has
                followed would mean that after an absence of seven years death must
                be presumed no matter how strong the evidence of intent to disappear
                and to effect a complete change of identity, provided there were no


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               post-departure explanation of his whereabouts. There are four reasons
               why we believe the Secretary’s regulation did not promulgate such a
               rule.

               First, history teaches us that deliberate desertions do in fact take place
               frequently. Whatever our personal predilections might be, the statute
               does not authorize the payment of benefits to deserted victims. A
               wage earner’s prolonged absence, which is more probably the
               consequence of deliberate desertion by a living spouse or parent than
               of death, should not, therefore, create a right to statutory benefits.

               Second, the Secretary’s regulation is quite obviously based on the
               common law presumption. As we read the common law authorities,
               the presumption of death resting on evidence of an absence for seven
               years, could be rebutted either by (a) evidence of continued life
               during that period, or (b) evidence of motivation that created a
               probability of continued life notwithstanding the lack of any
               communication from the absentee for a prolonged period. In short,
               pre-departure evidence was admissible to rebut the presumption.

               Third, the text of the regulation itself quite plainly authorizes
               alternative means of rebutting the presumption. The regulation
               requires that the individual be “unexplainedly absent” and also
               “unheard of” for a seven year period. The presumption then applies
               “in the absence of any evidence to the contrary.” A fair reading of this
               language indicates that the Secretary may adduce evidence to
               contradict either the unexplained character of the absence or the fact
               that the individual has not been heard of for seven years. If only the
               latter evidence were admissible, the requirement that the absence be
               unexplained would be meaningless. For by hypothesis every absence
               that meets the second requirement will be unexplained during the
               entire period subsequent to the last time anyone had heard of the
               absentee.

               Finally, we are told that the Secretary’s interpretation has been
               consistently followed in thousands of cases since the regulation was
               first promulgated in 1951. There is no suggestion that this
               interpretation is not completely consistent with the governing statute.
               The Secretary’s interpretation of his own regulation is therefore
               entitled to great respect.

 Blew v. Richardson, 484 F.2d 889, 892-93 (7th Cir. 1973) (citations and footnotes omitted).



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         As addressed in Blew, and as revealed in this case, it is necessary that the insured’s absence

 be unexplained by circumstances other than those suggesting death in order for the presumption of

 death to arise. Deliberate desertions do in fact take place frequently, as one did here, and Indiana’s

 common law presumption of death does not authorize the payment of benefits to deserted victims.

 See Metro. Life Ins. Co. v. Lyons, 98 N.E. 824, 825-26 (Ind.Ct.App. 1912) (recognizing that proof

 of absence alone will not give rise to the presumption). Unlike the current version of 20 C.F.R. §

 404.721, and the position adopted in Shalala and other courts of appeals in applying the federal

 regulation, Indiana’s common law requires that the individual be inexplicably absent from home for

 a continuous period of seven years for the presumption to apply. Here, the presumption never

 applied because evidence contradicted the notion that Mr. Beeler’s absence was inexplicable.10 Mr.

 Beeler’s pre-departure statements and actions so plainly describe his intent to disappear completely

 from his family, that it is at least equally probable that Mr. Beeler is still among the living with a new

 identity. Thus, Mr. Beeler’s prolonged absence, which is more probably the consequence of

 deliberate desertion than of death, should not, and does not, create a right to benefits.

          For the reasons stated above, Green v. Shalala, 51 F.3d 96, 99-101 (7th Cir. 1995) does not

 help the Beeler Trust, because Indiana’s common law presumption of death was properly applied,

 and the jury was properly instructed on the same.

 II.     Certification to the Supreme Court of Indiana under Ind. R. App. P. 64

         Pursuant to Ind. R. App. P. 64, the Beeler Trust requests the court to certify to the Supreme


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          As indicated in the court’s February 26, 2008 order (Doc. No. 146), it cannot be said that this
 was the only element not proven, because the evidence created conflicting inferences regarding whether
 Mr. Beeler failed to communicate with those persons who would be most likely to hear from him, and
 whether a diligent inquiry and search were conducted. However, only the nature of Mr. Beeler’s absence
 as ‘unexplained’ is relevant to the discussion.

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 Court of Indiana the contested state law issues— the question of whether jury instruction number

 22 and the resulting verdict form accurately stated Indiana’s common law presumption of death

 under the facts and circumstances of the present case. The Beeler Trust argues that there is sufficient

 reason for certification based on (1) the alleged inconsistency found in Indiana’s case law and jury

 instruction number 22 regarding the presumption of death, and (2) the rulings issued in a related state

 case11 concluding that the presumption of Mr. Beeler’s death arose.

         Ind. R. App. P. 64 states in relevant part: “any federal district court may certify a question

 of Indiana law to the Supreme Court when it appears to the federal court that a proceeding presents

 an issue of state law that is determinative of the case and on which there is no clear controlling

 Indiana precedent.” Although certification is a useful tool of cooperative federalism, as it permits

 a federal court to seek a definitive ruling from the highest court of the state on the meaning of state

 law, it is not without costs to the litigants and the state court. Allstate Ins. Co. v. Menards, Inc., 285

 F.3d 630, 638 (7th Cir. 2002); State Farm Mut. Auto. Ins. Co. v. Pate, 275 F.3d 666, 671 (7th Cir.

 2001). Therefore, this court approaches the decision to certify with circumspection. Id.

         Federal courts consider several factors when deciding whether to certify a question to a state

 supreme court: (1) the degree of uncertainty that exists on the state law issue; (2) whether the issue

 presents a matter of public concern; (3) whether the issue is likely to recur; (4) whether the issue is



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            See Footnote 54 of the court’s February 26, 2008 order (Doc. No. 146), explicitly
 acknowledging that the rulings issued by Judge Stephen R. Bowers of the Elkhart Superior Court in the
 state case Valley Forge v. John Martin, Cause No. 20D02-0508-PL532, are not controlling upon this
 court. The jury verdict rendered in the present case cannot conflict with another fact-finder’s
 determinations in a completely separate case where dissimilar evidence was presented and different
 credibility determinations were made. As this court previously held “[t]he most reasonable interpretation
 of the evidence in this case is that Mr. Beeler consciously left his family, because there is only evidence
 of his intentional absence.” The court rejects the Beeler Trust’s repeated contentions for these reasons.

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 outcome determinative; (5) whether the state supreme court has had an opportunity to address the

 issue in other cases; (6) whether the supreme court of the state would consider the issue an important

 one in the growth of the state’s jurisprudence; (7) whether resolution of the issue definitively will

 benefit future litigants or will almost exclusively affect the citizens of the state; (8) whether the

 intermediate courts of the state are in disagreement on the issue or the issue is one of first impression

 for the court of last resort; and (9) whether the case involves fact specific issues or issues upon which

 there is no serious doubt. Menards, Inc., 285 F.3d at 638-39; Pate, 275 F.3d at 671-73; see also

 Plastics Engineering Co. v. Liberty Mut. Ins. Co., 514 F.3d 651, 659 (7th Cir. 2008). If the outcome

 of a case is largely fact-dependent, and the facts are particularized to the case, resolution of the issues

 by a court may have limited precedential value and certification to a state supreme court may be

 inappropriate. Liberty Mut. Ins. Co., 514 F.3d at 659 (citing Erie Ins. Group v. Sear Corp., 102 F.3d

 889, 892 (7th Cir.1996); Woodbridge Place Apartments v. Washington Square Capital, Inc., 965

 F.2d 1429, 1434 (7th Cir.1992)).

         Under these circumstances, certification is not indicated. While the court agrees that in the

 broadest sense whether a family is entitled to life insurance proceeds is an important issue, and the

 evidentiary proof required to raise the presumption of death is outcome determinative, the court does

 not agree that the resolution of this case will have much impact on future cases involving this issue.

 This case involves a fact specific question: (Aside from whether Mr. Beeler failed to communicate

 with those persons who would be most likely to hear from him and whether a diligent inquiry and

 search was conducted) was Mr. Beeler’s absence inexplicable when, during the year prior to his

 disappearance, he caused the Beeler family great public embarrassment by having an affair, during

 which time he dramatically changed his behavior and appearance, became increasingly estranged


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 from his family, was forced to leave the house many times, and was eventually rejected by his

 children and formally separated from his wife, and, just before leaving used an assumed name to rent

 storage for his belongings, winterized the family condominium, thoughtfully arranged the Beeler’s

 financial affairs (including millions of dollars worth of assets), and forewarned that he would never

 bother the family again and there would be no trace of him left behind (absent eye-witness accounts

 of his being alive and well)? This fact-intensive question lacks broad, general significance.

        Certification of the broader issues of “whether Indiana’s common law presumption of death

 was properly applied” or “whether it was proper to require that Mr. Beeler’s absence be unexplained

 by circumstances other than those suggesting death” is also not appropriate. This court is convinced

 that the law in Indiana as to the presumption of death is neither indefinite nor unclear, and the Beeler

 Trust was required to show by a preponderance of the evidence that there was no other explanation

 for Mr. Beeler’s absence. Yet, Mr. Beeler’s absence was attributable to known rational reasons for

 his leaving home and never returning. The Court of Appeals of Indiana explicitly and clearly holds

 that Indiana’s presumption of death arises when a person is inexplicably absent from home for a

 continuous period of seven years, fails to communicate with those persons who would be most likely

 to hear from him, and cannot be found despite diligent inquiry and search. See Roberts v. Wabash

 Life Ins. Co., 410 N.E.2d 1377 (Ind.Ct.App. 1980) (citing Equitable Life Assurance Society v. James,

 127 N.E. 11 (Ind.Ct.App. 1920); Metropolitan Life Insurance Co. v. Lyons, 98 N.E. 824 (Ind.Ct.App.

 1912)). Proof of Mr. Beeler’s absence alone is not enough. See Lyons, 98 N.E. at 825-26. Further,

 the Supreme Court of Indiana expressly stated, without elaboration, that “[a]t common law a person

 was presumed to be living for seven years after his disappearance, and a presumption of death arose

 only from an unexplained absence for that length of time.” Prudential Ins. Co., of America v.


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 Moore, 149 N.E. 718, 721 (Ind. 1925) (finding that a statutory presumption of death after five years

 for the management of an absentee’s estate did not affect the common law presumption of death).

 Where no evidence of Mr. Beeler’s actual death existed, where the Beeler Trust admitted its inability

 to win the case without raising the presumption, and where the jury determined that the presumption

 did not apply, the jury was not then required to weigh all the evidence in resolving the ultimate fact

 of death, because the issue was resolved— it was determined that it is at least equally probable that

 Mr. Beeler is still among the living, because the Beeler Trust failed to meet its burden in the first

 instance. As such, the presumption was properly addressed in the jury instructions and the verdict

 form. This court is not uncertain about the content of Indiana law on the issues raised.

        The issues upon which certification is requested raise no serious doubts. Not only was there

 no proof of Mr. Beeler’s death, but the facts showed Mr. Beeler’s absence was intentional, planned,

 and certainly explained. The extensive facts reveal that Mr. Beeler consciously left his family to live

 another life, after meticulously arranging the Beeler’s affairs and forewarning them that no trace of

 him would be left behind. Mr. Beeler’s disappearance was explicable by circumstances indicating

 that Mr. Beeler was not dead, and thus, the defendants were not obligated to pay the life insurance

 proceeds. Further, Mr. Beeler’s initial disappearance is not only explained, but his continued

 absence from his family is explained by the same facts presented at trial and considered herein.

        An unfavorable jury verdict does not make certification any more proper. Certification to

 the Supreme Court of Indiana at this stage, after a lengthy and emotional trial wherein the most

 reasonable interpretation of the evidence is that Mr. Beeler consciously left his family, would not

 save time, energy, and resources, but would expend them wastefully.

        The Beeler Trust chose its litigation strategy and must now heed the jury’s verdict.


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 Accordingly, the Beeler Trust’s notice of appeal filed on March 26, 2008 is now effective. See FED .

 R. APP . P. 4(a)(4); United States v. Powers, 168 F.3d 943 (7th Cir. 1999).

                                           CONCLUSION

        The Beeler Trust failed to meet its burden in raising the presumption of death as to Mr.

 Beeler. As held in this court’s February 26, 2008 order, under the extensive facts of this case, the

 jury made this reasonable determination after being properly instructed on the application of

 Indiana’s presumption of death, as unambiguously set forth in Indiana case precedent. Thus,

 reconsideration of this court’s order, or certification of the state issues, is not appropriate. On the

 basis of the foregoing, the Beeler Trust’s “Motion for Reconsideration or Certification” is DENIED

 (Doc. No. 147).

        SO ORDERED.

        DATED: May 12, 2008

                                                         /s/ William C. Lee
                                                WILLIAM C. LEE, JUDGE
                                                UNITED STATES DISTRICT COURT




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